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Exclusive: Rikers Island Inmate Rampage Captured on Video

By Sarah Wallace

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The I-Team obtains exclusive video of inmates trashing cells and breaking windows inside Rikers
Island, Sarah Wallace reports. (Published Wednesday, Oct. 5, 2016)

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Inmates at Rikers Island were captured on video trashing their cells and taunting o. A 0 Few Clouds
guards in a recent rampage, causing thousands of dollars in damage and leaving Feels Like 33°
correction officers fearful of getting hurt and cautious about intervening at all.
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The video, obtained exclusively by the !|-Team, shows the inmates, who are | | —_
alleged gang members, on a wrecking mission in their cells a few weeks ago, a Rareeas ‘an
tearing up virtually everything they could get their hands on. -
2 Officers at Rikers Island Slashed by Inmate: Sources WHAT DO YOU THINK?

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A veteran officer in the Department of Corrections’ elite Emergency Services Unit,
whose job is to respond to emergencies at Rikers, spoke to the I-Team. He said {> Trees
they're increasingly being assigned to posts to guard gang members. ~

Vines
“There was glass, they were pulling the bedframe up, they were ripping the oe
cameras up from inside the cells, they broke the windows," said the officer, who \, have na idea

 

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6 Rikers Guards Get Prison in 2012 Beating of Inmate

Several officers involved in the incident said that the so-called high-classification
inmates should never have been housed in the West facility, originally designed for
inmates with communicable diseases.

“High-classification inmates like those are supposed to be in a concrete cell with a

steel toilet and a steel sink," said the ESU officer. "These are the most notorious NEWSLETTERS
criminals in the department. They are the ones that slash other inmates. They are
the ones that assault staff the most.”

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The inmates caused thousands of dollars worth of damage in the rampage,
according to an incident report. Officers were hesitant to stop it.

“If we go in, those inmates who are destroying the cells are going to use those
objects against us," said the ESU officer. "Then we get to protect ourselves
against those objects. After the use of force is over, you have a bunch of people
looking at video and wearing suits that come in Monday-morning quarterback and
somehow find fault most of the time against correction officers."

 

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The officers say they're understaffed and undersupported by management, and
constantly second-guessed.

"lf we go in, the first use of force, we're scrutinized. We can be prosecuted," said
the officer.

 

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The officers say the suspected gang members involved in the rampage were
moved out of the West facility, but not isolated or punished. On Monday, some of
them hurled feces and urined through the bars at several officers. The I-Team was
at Booth Memorial Hospital when eight members of the ESU got checked out for
exposure.

Those ESU officers did not want to show their faces, but they said they're not
protected by the Department of Corrections.

“We've forced our opinions on our supervisors and managers, and they've done
nothing to make changes," said one officer.

"We're threatened 24/7," said another,

“{t seems like all their concern is for the inmates. They're not concerned with
protecting the staff," said an officer.

The veteran ESU officer told the I-Team: "| would sum it up by saying the
Department of Corrections needs to take drastic action to change the way ESU is
able to respond to incidents, or | can only imagine the catastrophic failure that is
on the horizon for correction officers."

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assignments. The departinent does say itis mvestigating the incidents exposed by
the I-Team and that the commissioner has zero tolerance for assaults on officers.

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